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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

FRANCINE ZYSK,

      Plaintiff,                               Case No. 5:18-cv-10639
                                               Hon. Robert H. Cleland
v                                              Mag. Judge Stephanie Dawkins Davis

THERESA M. BRENNAN, in her
individual and official capacities,
MIRIAM CAVANAUGH, in her
individual and official capacities,

      Defendants.

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                 PLAINTIFF’S RESPONSE TO
          DEFENDANT BRENNAN’S MOTION TO DISMISS
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                                  ISSUES PRESENTED

I.           Whether Defendant is entitled to judicial immunity for adverse actions
             having nothing to do with an adjudication, that were not functions normally
             performed by a judge, that did not occur while Plaintiff was dealing with
             Defendant in her judicial capacity, and for the most part did not occur in the
             courtroom or chambers.
             Plaintiff states:      “No”
             Defendants state:      “Yes”


II.          Whether Defendant was acting under the “color of law” when she made a
             defamatory statement at Plaintiff’s deposition while attempting to use her
             judicial position to influence the outcome of her divorce case.
             Plaintiff states:      “Yes”
             Defendants state:      “No”


III.         Whether Plaintiff suffered an adverse action for purposes of her First
             Amendment retaliation claim.
             Plaintiff states:      “Yes”
             Defendants state:      “No”


IV.          Whether Defendant is entitled to judicial proceedings privilege when she
             was not acting as judge, attorney or witness while defaming Plaintiff.
             Plaintiff states:      “No”
             Defendants state:      “Yes”


V.           Whether Plaintiff’s complaint states a claim for defamation where it
             references that the statements were made in a deposition in which two
             attorneys and a court reporter were present.
             Plaintiff states:      “Yes”
             Defendants state:      “No”




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VI.          Whether Defendant is entitled to governmental immunity for Plaintiff’s
             defamation claim where it is undisputed that she was attending a deposition
             in her divorce case as a litigant, not as a judge.
             Plaintiff states:     “No”
             Defendants state:     “Yes”




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I.    Facts
      Plaintiff Francine Zysk is the 53rd District Court Administrator. The Court has

three judges – Judge Carol Sue Reader, Judge Suzanne Geddis and Defendant.

      The 53rd District Court and the Livingston County Circuit Court operate as a

unified court. Circuit Judge David J. Reader was the Chief Judge over both courts

until January 1, 2018 when Judge Miriam Cavanaugh succeeded him. Until recently

Plaintiff reported to the Chief Judge.

      Defendant’s husband Donald Root filed for divorce on December 2, 2016. Mr.

Root filed for divorce because Defendant had affairs with Detective Lieutenant Sean

Furlong of the Michigan State Police and at least one other man. The divorce case

became a matter of great public interest because Lt. Furlong was the chief

prosecution witness in a double murder trial in which the defendant, 63-year-old

Jerome Kowalski, was convicted of killing his brother and his wife.

      Defendant and Furlong admit the affair but deny an intimate relationship in

the run up to and during the trial. Mr. Root’s attorney, Thomas Kizer, obtained

telephone records that suggest otherwise.

      Plaintiff and several other court employees that socialized with Defendant

were subpoenaed for depositions. Plaintiff testified twice, once in January 2017 and

again on March 9, 2017.
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             The topics Plaintiff was questioned about included the duration of the affair.

Plaintiff contradicted Defendant’s testimony that the affair ended in 2015. She

testified that Defendant had told her and others in a group text that she had sex with

Furlong twice in the Spring of 2016 in Key West. (Exhibit A: Tr. At 4-9). She also

testified that Defendant regularly ended court at 3:00 p.m. so that she could have sex

with another man at the marital home while her husband was away. (Id. at 15-16)

             Plaintiff also testified that Defendant acknowledged drinking in her chambers

and that she had heard rumors that Defendant had been observed intoxicated there.

This is when Defendant attempted to halt the deposition and, when she was

unsuccessful, called Plaintiff a liar. (Id. at 27-28)

             The liar statement was made in the presence of two attorneys, Mr. Root and a

court reporter and overheard by Deputy Sheriff Ed Bishop who was in the hallway

outside the courthouse conference room. Shortly thereafter Circuit Judge Michael

Hatty encountered Plaintiff in the hall and indicated that he had heard about the

statement and told her he was sorry to hear about the incident (Exhibit B:

Declaration of Francine Zysk, para. 5).

             Plaintiff has also engaged in protected activity by submitting to multiple

interviews with the Michigan State Police and the Judicial Tenure Commission, who

are still conducting their investigations of Defendant.




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II.          Standard for FRCP 12(b)(6) Motion
             In deciding motions under Rule 12(b)(6) the court must construe the

complaint in a light most favorable to the plaintiff, accept all the factual allegations

as true, and determine whether the plaintiff undoubtedly can prove no set of facts in

support of his claims that would entitle him to relief. Sistrunk v. City of Strongsville,

99 F.3d 194, 197 (6th Cir. 1996) Kline v. Rogers, 87 F.3d 176, 179 (6th Cir. 1996);

Wright v. MetroHealth Medical Center, 58 F.3d 1130, 1138 (6th Cir. 1995). When

an allegation is capable of more than one inference, it must be construed in the

plaintiff’s favor. Columbia Natural Resources, Inc. v. Tatum, 58 F.3d 1101, 1109

(6th Cir. 1995); In re DeLorean Motor Co., 991 F.2d 1236, 1240 (6th Cir. 1993);

Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir. 1993). Hence, a judge may not grant a

Rule 12(b)(6) motion based on a disbelief of a complaint’s factual allegations.

Wright, 58 F.3d at 1138; Columbia Natural Resources, Inc., 58 F.3d at 1109.

             Though decidedly liberal, this standard of review does require more than the

bare assertion of legal conclusions. Lillard v. Shelby County Bd. Of Educ., 76 F.3d

716, 726 (6th Cir. 1996); LRL Properties v. Portage Metro Hous. Auth., 55 F.3d

1097, 1100-01 (6th Cir. 1995). The complaint should give the defendant fair notice

of what the plaintiff’s claim is and the grounds upon which it rests. Gazette v. City

of Pontiac, 41 F.3d 1061, 1064 (6th Cir. 1994). “In practice, ‘a … complaint must

contain either direct or inferential allegations respecting all the material elements to



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 sustain a recovery under some viable legal theory.’” Lillard, 76 F.3d at 726

 (emphasis in original) (quoting Scheid v. Fanny Farmer Candy Shops, Inc., 859 F.2d

 434, 436 (6th Cir. 1988)).

 III.         Judicial Immunity

              A.        Law
              Plaintiff alleges that Defendant took five adverse actions against her:

                     1. she called her a liar in the presence of two attorneys and a court reporter;
                        that statement was overheard by a deputy sheriff who was posted at the
                        courthouse conference room where the deposition was held; Circuit
                        Judge Michael Hatty told Plaintiff shortly afterwards in the hallway that
                        he had heard about the statement and was sorry; a transcript of the
                        deposition, including the liar statement, was later filed in the publicly
                        available court file (Exhibit B: Zysk Declaration);
                     2. she made a complaint against Plaintiff with the State Court
                        Administrative Office (“SCAO”);
                     3. she regularly badmouthed Plaintiff both on and off the bench;
                     4. as she informed the SCAO, and Chief Judge Cavanaugh, Defendant
                        refuses to communicate with Plaintiff even though Defendant’s docket
                        is one-third of the District Court’s business; this significantly frustrated
                        Plaintiff’s ability to perform her duties; and
                     5. she humiliated Plaintiff in the presence of her judicial colleagues at a
                        Judge’s Meeting.
 These are not judicial acts for which Defendant has absolute immunity.

              Schwartz, Section 1983 Litigation, Vol 1A, §9.03[B][2] (Exhibit C) states:

              Whether an act is a judicial act depends on “whether it is a function
              normally performed by a judge” and “whether [the parties] dealt with
              the judge in his judicial capacity.” Circuit court decisions list two other
              relevant factors: whether the acts occurred in chambers or open court,




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              as opposed to some other place,1 and whether they were related to a
              pending case. (footnotes omitted)

              The Sixth Circuit in Brookings v. Clunk, 389 F.3d 614, 617-618 (6th Cir. 2004)

 described the process for ascertaining whether an act is “judicial” and therefore

 subject to absolute immunity:

              In Stump, the Supreme Court established a two-prong test to determine
              whether an act is “judicial.” [Stump v. Sparkman, 435 U.S. 349, 362,
              98 S.Ct. 1099, 55 L.Ed.2d 331 (1978) ]. First, the court must consider
              whether the act in question is a function that is “normally performed
              by a judge.” Id. This court has previously referred to this inquiry as the
              functional approach. Under this inquiry, a court is required to examine
              the nature and function of the act, not the act itself. The Supreme Court
              reformulated this inquiry in Mireles by establishing that, even if a
              particular act is not a function normally performed by a judge, the court
              must look to the particular act’s relation to a general function normally
              performed by a judge. Id. at 13, 112 S.Ct. 286. (emphasis added)
              Second, in determining whether an act is “judicial,” the court must
              assess whether the parties dealt with the judge in his or her judicial
              capacity. Id. at 12, 112 S.Ct. 286. In examining the functions normally
              performed by a judge, this court has recognized that “paradigmatic
              judicial acts,” or acts that involve resolving disputes between parties
              who have invoked the jurisdiction of a court, are the touchstone for
              application of judicial immunity. Barrett v. Harrington, 130 F.3d 246,
              255 (6th Cir.1997) (citing Antoine [v. Byers & Anderson ], 508 U.S.
              [429,] 435–36, 113 S.Ct. 2167 [124 L.Ed.2d 391 (1993) ] ).
              Conversely, whenever an action taken by a judge is not an
              adjudication between the parties, it is less likely that it will be
              deemed judicial. Cameron v. Seitz, 38 F.3d 264, 271 (6th Cir.1994).
              (emphasis added)




 1
  This factor is not dispositive as judges have been denied immunity for courtroom
 conduct. See, e.g., Gregory v. Thomas, 500 F.2d 59 (1974) and Zarcone v. Perry,
 572 F.2d 52 (2d Cir. 1978).

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              B.        Application
              Defendant is not entitled to absolute judicial immunity because:

                     1. the adverse actions in question have nothing to do with an adjudication.
                        Cameron v. Seitz, 68 F.3d 264, 271 (6th Cir. 1994);
                     2. the actions were not functions normally performed by a judge; Id.
                     3. the acts did not occur while Plaintiff was dealing with Defendant in her
                        judicial capacity; and
                     4. except for some of Defendant’s courtroom ridicule, none of the adverse
                        acts occurred in Defendant’s courtroom or chambers.
                        1.    Defamation
              Defamation is not a judicial act. Barrett v. Harrington, 130 F.3d 246, 260-261

 (6th Cir. 1997). Defendant’s defamatory statement during a deposition that she was

 attempting to preside over was no more privileged than Defendant Harrington’s

 allegedly false statements to the media about Plaintiff Barrett.

                        2.    SCAO Complaint
              The SCAO incident is described in Plaintiff’s affidavit in Defendant’s

 divorce:

              3.      That in the deposition of March 9, 2017 affiant was interrupted in
                      giving an answer by the Defendant and accused of lying and being
                      a liar.
              4.      That the Defendant appeared visibly angry toward affiant.
              5.      That on March 14, 2017 the undersigned was contacted by the
                      Chief Judge, Hon. David J. Reader and informed that a complaint
                      had been filed by Defendant against affiant with the Supreme
                      Court Administrator’s Office alleging that affiant should be
                      admonished for wrongdoing.



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              6.     That specifically according to Chief Judge Reader, the Defendant
                     accused the affiant of:

                     a.    Wrongfully charging 2 hours of sick time while meeting with
                           Plaintiff and his attorney.

                     b.    Improperly examining the Defendant’s divorce filed on
                           county work time.

                                           *       *       *

              13. That the Defendant heard the testimony affiant gave regarding No.
                  12 above but made a frivolous complaint trying to discredit affiant
                  to her peers and superiors.
              14. The Chief Judge Reader has indicated based upon the facts she will
                  not receive any admonishment of any nature.
 See Ex. B to Exhibit B: Zysk Declaration.

              It is not in the judicial job description to tattle on Plaintiff to the SCAO for

 alleged violation of County employment rules.

                      3.      Badmouthing Plaintiff to Third Parties
              Repeated badmouthing of Plaintiff on and off the bench was no more

 privileged than the repeated ridicule of the plaintiff police lieutenant in Harris v.

 Harvey, 605 F.3d 330, 336 (7th Cir. 1979).

                      4.      Interference with Plaintiff’s Ability to do Her
                              Job
              As stated in the complaint, Defendant purposely crippled Plaintiff’s ability to

 do her job:

              60.     On January 17, 2018, Brennan, still bitter at Plaintiff for her
                      protected activity, made a spectacle of herself at a Judge’s


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                     meeting; when Plaintiff attempted to hand her a disqualification
                     folder, Brennan stated in a disdainful voice “I will not take
                     anything from you, I will never take anything from you, if you
                     need something you can give it to Judge Cavanaugh and she can
                     give it to me.”
              61.    After Judge Cavanaugh joined the meeting, Brennan, her voice
                     still dripping with venom, reiterated “I will never open an email
                     from Francine, I will never take anything from Francine, I will
                     never have any interaction from Francine, I have told that to
                     SCAO and Judge Cavanaugh.”

              Defendant was acting in an administrative capacity during this incident and

 therefore she may assert only qualified immunity. Schwartz, supra §9.03[B][6]

 (Exhibit C). This incident was unrelated to a particular adjudication; it related to her

 disdain for Plaintiff on account of her protected activity. The incident did not occur

 in Defendant’s courtroom or chambers. Finally, Plaintiff was dealing with Defendant

 not as a litigant, but as an administrator. “Administrative decisions, even though

 they may be essential to the very functioning of the courts, have not similarly been

 regarded as judicial acts.” Forrester v. White, 484 U.S. 219, 228, 108 S.Ct. 538,

 L.Ed.2d 555 (1988). (emphasis added)

                     5.    Humiliation of Plaintiff at the Judges Meeting
              Judge Brennan verbally attacked Plaintiff at a Judges Meeting when Plaintiff

 attempted to hand her a folder of disqualification orders. Judge David Reader was

 so taken aback by the tirade that he wrote the statement down verbatim and later

 read it back to Judge Cavanaugh when she joined the meeting. Judges Carol Sue



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 Reader and Suzanne Geddis separately consoled Plaintiff and expressed her sorrow

 that Defendant would attack her in that fashion. (Exhibit B: Zysk Declaration, para.

 11)

              Defendant was acting in an administrative capacity during this tirade and

 therefore judicial immunity does not apply. See previous section.

              Defendant does not enjoy judicial privilege for impairing Plaintiff’s ability to

 manage a third of the District’s Court’s docket, falsely reporting to the State Court

 Administrative Office that Plaintiff engaged in misconduct, loudly proclaiming

 Plaintiff to be a liar in the presence of third parties and ridiculing Plaintiff out of her

 presence to third parties in her courtroom.

 IV.          Color of State Law
              Defendant asserts that she was not acting under state law when she attempted

 to stop Plaintiff’s deposition and then called her a liar because she was displeased

 with the testimony. The deposition incident was part of a larger pattern of conduct

 in which Defendant attempted to use her status as a judge to influence the outcome

 of her divorce.

              According to Waters v. City of Morristown, TN, 242 F.3d 353, 359 (2001)

 “Section 1983 is generally not implicated unless a state actor’s conduct … is such

 that the actor could not have behaved as he did without the authority of his office

 (citation omitted). The key determinant is whether the actor intends to act in an



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 official capacity or to exercise official responsibilities pursuant to state law. See id.”

 For there to be action under color of state law the challenged conduct must relate in

 “some meaningful way either to the actor’s governmental status or to the

 performance of his duties.” Id.

              Because the Livingston County Circuit Court and the 53rd District Court

 functions as a unified court, Chief Judge Reader was able to, and did, assign all

 divorce cases without minor children to Defendant (even though she was a district

 court judge). Mr. Root and Defendant have no children. After Mr. Root sued her for

 divorce the case was assigned to Defendant. She failed to recuse herself for five

 days, which delayed assignment of a visiting judge and rulings on Root’s emergency

 motions to preserve all electronic cell phone records, phone records that would

 seriously undermine Defendant’s claim that she was not having a relationship with

 Lt. Furlong during the Kowalski murder trial. Complaint, para. 36; Exhibit D: Judge

 D. Reader Dep. Tr. at 8-9, 11-14, 16-17, 19; Exhibit E: Pratt Dep. Tr. at 10-17.

              Subsequently, Defendant attended depositions and attempted to preside as if

 the testimony was being given in her court. She interrupted Furlong’s deposition and

 had him change his testimony. See Complaint para. 35. She interrupted Plaintiff’s

 deposition when she became disenchanted with the subject matter and then called

 Plaintiff a liar when she was displeased with her testimony. Complaint, para. 32-34;

 Exhibit A: Zysk Dep. Tr. at 27-28.


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              Defendant acted under color of state law by using her judicial position to

 influence the outcome of her divorce case. She “could not have behaved as [s]he did

 without the authority of [her] office.” Defendant intended “to exercise official

 responsibilities pursuant to state law” when she held up the disqualification order,

 interrupted two depositions with the obvious purpose of influencing testimony and

 then berated Plaintiff when she testified truthfully.

              Defendant is like the judge in Malina v. Gonzalez, 1993 WL 534163 (E.D.

 La.) (Exhibit F) who was found to be acting under color of state law when he

 stopped a motorist, flashed his judicial credentials and ordered a police officer to

 summon the motorist to court after he refused to be arrested and fled the scene. Both

 Defendant and Judge Gonzalez were throwing their judicial weight around for

 personal reasons. Neither could have done this without the power afforded by their

 position. Both were acting under color of state law. Defendant was using her position

 to intimidate, interrupt and defame Plaintiff at her deposition. She could have only

 done this because of her position as a judge.

 V.           Adverse Action

              A.     Standard for Adverse Action
              An adverse action in the First Amendment Retaliation context is one that

 would deter a person of ordinary firmness from engaging in protected activity. Fritz

 v. Charter Twp. Of Comstock, 592 F.3d 718, 723 (6th Cir 2010).



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              The Supreme Court, in Rutan v. Republican Party of Illinois, 497 U.S. 62, 75,

 n. 8; 110 S.Ct. 2729 (1990), a First Amendment political patronage case, rejected

 the notion that “only those employment decisions that are the ‘substantial equivalent

 of a dismissal’ violate a public employee’s rights under the First Amendment,”

 noting “Moreover, the First Amendment, as the court below noted, already protects

 state employees not only from patronage dismissals but also from “even an act of

 retaliation as trivial as failing to hold a birthday party for a public employee … when

 intended to punish her for exercising her free speech rights.” 868 F.2d, at 954, n. 4.”

 Id.

              Moreover, the Court is to analyze the adverse actions together, not just

 individually, to determine whether a person of reasonable firmness would be

 deterred from protected activity. Thus, the Court in Coszalter v. City of Salem, 320

 F.3d 968, 976-977 (9th Cir. 2003):

              Looked to several acts by defendant City of Salem and found that
              “some, perhaps all” of them, “considered individually were adverse
              actions…. When taken together, it is clear that these acts amounted to
              a severe and sustained campaign of employer retaliation that was
              reasonably likely to deter plaintiff from engaging in speech protected
              under the First Amendment.”
              The acts included:

              the transfer to new duties (# 2); an unwarranted disciplinary
              investigation (# 4); an unwarranted assignment of blame (# 6); a
              reprimand containing a false accusation (# 8); a criminal investigation
              (# 15); repeated and ongoing verbal harassment and humiliation (# 15);
              the circulation of a petition at the encouragement of management (#


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              16); a ten-day suspension from work (# 17); a threat of disciplinary
              action (# 20); an unpleasant work assignment (# 21); a withholding of
              customary public recognition (# 26); an unwarranted disciplinary action
              (# 30); and two consecutive ninety-day “special” reviews of work
              quality (# 29 and # 31).
              Id. at 976-977.

              The Coszalter Court based this holding on Rutan, supra and cases decided in

 its wake:

              Various kinds of employment actions may have an impermissible
              chilling effect. Depending on the circumstances, even minor acts of
              retaliation can infringe on an employee’s First Amendment rights. See
              id. at 75–76, 110 S.Ct. 2729.
              To constitute an adverse employment action, a government act of
              retaliation need not be severe and it need not be of a certain kind. Nor
              does it matter whether an act of retaliation is in the form of the removal
              of a benefit or the imposition of a burden. In Allen v. Scribner, the
              plaintiff alleged that he had been “reassigned to another position, and
              otherwise harassed in retaliation for ... remarks he made to the press.”
              812 F.2d at 428. We found this allegation sufficient to form the basis
              of a First Amendment claim. In Thomas v. Carpenter, 881 F.2d 828,
              829 (9th Cir.1989), the plaintiff alleged that he had been banned from
              attending certain meetings and participating as an evaluator in training
              exercises in retaliation for his political activity. We found this
              allegation sufficient. In Ulrich v. City and County of San Francisco,
              308 F.3d at 977, the plaintiff alleged that his government employer had
              subjected him to an investigation, refused to rescind his resignation, and
              filed an adverse employment report in retaliation for his protected
              speech. Again, we found that his allegation was sufficient to state a §
              1983 claim seeking redress for violation of First Amendment rights. In
              Anderson v. Central Point School District, 746 F.2d 505, 506 (9th
              Cir.1984), the plaintiff alleged that he had been temporarily suspended
              from his coaching duties and insulted by his employer. We allowed the
              plaintiff to recover under the First Amendment for emotional distress
              and damage to his reputation.

              Id. at 975.

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              The Seventh Circuit, in Bart v. Talford, 677 F.2d 622, 625 (7th Cir. 1982)

 similarly held that a court should not analyze the adverse actions in isolation but

 rather “in gross.” The Court held that a “series of petty harassments” “though trivial

 in detail may have been substantial in gross.” Id.

              The Sixth Circuit adopted the Bart standard in Thaddeus-X v. Blatter, 175

 F.3d 378, 396 (6th Cir. 1999). Ely v. Dearborn Heights School Dt., 150 F.3d 842,

 853 (E.D. Mich. 2015). Based on the Bart standard as applied by the Sixth Circuit,

 the Court in Ely found that a letter of reprimand met the standard for “adverse

 actions.” The Ely court also relied for its holding on Fritz v. Charter Twp., of

 Comstock, 592 F.3d 718, 728 (6th Cir. 2010), which held that “a credible threat to

 the nature and existence of one’s ongoing employment is of similar character to the

 other recognized forms of adverse actions – termination, refusal to hire, etc.” Id.

 Fritz held that the defendant’s negative statements about plaintiff to her employer

 were adverse actions. Fritz at 728.

              Finally, Courts applying the “deterring of a person of ordinary firmness”

 standard have found adverse actions where the plaintiff was humiliated in front of

 her male colleagues and otherwise shunned, Mihalik v. Credit Agricole Cheuvreux

 North American, Inc., 715 F.3d 102, 116 (2d Cir. 2013) (NY state law retaliation

 claim), and where professional ostracism was carried to an extreme, Simas v. First




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 Citizens Fed. Credit Union, 170 F.3d 37, 52, n. 12 (1st Cir. 1999); Lee v. City of

 Corpus Christi, 749 F.Supp.2d 521, 540-541 (S.D. Tex. 2010).

              B.     Application
              In this case Plaintiff alleges as adverse actions Defendant’s defamation (“you

 are such a liar”), false complaint with SAO, the state agency charged with overseeing

 her court, regular ridicule both on and off the bench, harmful interference with her

 ability to perform her job, and humiliation in the presence of other judges. Whether

 viewed individually, or “in gross” these are adverse actions.

              These acts are different in kind and quantity from the adverse action alleged

 in Wurzelbacher v. Jones-Kelly, 675 F.3d 580, 584 (6th Cir. 2012), where the adverse

 action was performing searches of confidential databases looking for dirt on the

 plaintiff. Id. at 582. Contrary to this case, there was no threat to Wurzelbacher’s

 livelihood.

              Unlike the action in Wurzelbacher, Defendant’s adverse actions threatened

 Plaintiff’s economic livelihood, humiliated her in the presence of other judges

 (which will be attested to by said judges) and defamed her in the presence of third

 parties. Consequently, Plaintiff’s allegations sufficiently state an “adverse action.”

              Further, Defendant’s status as a judge compounds the harm occasioned by the

 adverse actions. That is because Defendant has instant credibility with individuals

 unfamiliar with her antics. Thus, SCAO personnel, non-attorneys in her courtroom



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 listening to Defendant ridicule of Plaintiff and third parties that either heard or read

 Defendant’s “liar” statement would tend to believe Defendant’s statements simply

 because of her status as a judge. Finally, it is undeniable that Defendant’s power as

 a judge exacerbated the emotional harm caused to Plaintiff by Defendant’s adverse

 actions. It is one thing to be called a liar by a co-worker, it is quite another to be

 publicly called a liar by a judge.

 VI.          Defamation

              A.     Judicial-Proceedings Privilege
              Defendant attended Plaintiff’s two depositions. She was not counsel of record.

 She attended in her capacity as a party. Plaintiff’s testimony did not please

 Defendant. When Plaintiff testified that she knew that Defendant drank alcohol in

 her chambers and had information that she was intoxicated in her chambers

 Defendant interrupted the deposition and exclaimed “you are such a liar” and “you

 are lying.”

              Defendant claims that the judicial-proceedings privilege shields her from

 liability for these statements which are defamatory under well-established law. See,

 e.g., Armstrong v. Shirvell, 596 Fed.Appx. 433 (6th Cir. 2015). The Defendant relies

 on Oesterle v. Wallace, 272 Mich. App. 260, 264 (2006) where it is said

 “[s]tatements made by judges, attorneys and witnesses during the course of judicial

 proceedings are absolutely privileged if they are relevant, material or pertinent to



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 the issues being tried.” (emphasis added) However, such a party “may not claim

 absolute immunity with respect to slanderous and libelous statements otherwise

 published.” Timmis v. Bennett, 352 Mich. 355, 364 (1958). Quoting 33 Am. Jur., pp.

 172-173, the Supreme Court in Timmis notes:

              But the privilege does not extend to slanderous expressions against
              counsel, parties, or witnesses, when the expressions have no relation
              to or bearing upon the issue or subject matter before the court. Nor
              are statements privileged if they are not uttered in the course of a
              judicial proceeding. A repetition of privileged words uttered in the
              course of judicial proceedings, when no public or private duty
              requires an attorney to repeat them, may place him on the same footing
              as anyone else who utters defamatory statements concerning another.
              (emphasis added)

 Id. at 364-365.

              Based on the above authority, Defendant may not invoke the judicial-

 proceedings privilege because:

                     1. she was not acting in the capacity of an attorney, judge or witness when
                        she interrupted the deposition and angrily made the remarks;
                     2. no privilege exists to “make slanderous expressions against counsel,
                        parties or witnesses;” and
                     3. no “public or private duty” required Defendant to make the remarks; in
                        fact, the outburst violated the Michigan Rules of Professional Conduct,
                        and Judicial Canon of Ethics.
 Thus, the judicial-proceeding privilege is inapplicable in these circumstances.

              The cases cited by Defendant are all inapposite. In Oesterle the defendant was

 an attorney. In Ghannam v. Hamameh, 2014 WL 2158174 and Bedford v Witte, 318

 Mich. App. 60, 65 (2016) the offending statements were made by attorneys in a



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 complaint filed with the court or on the record. Bedford actually supports Plaintiff’s

 position because it affirms that the judicial proceedings privilege does not apply to

 statements which are “extraneous and unnecessary to those proceedings.” Id. at 72,

 which is the case here.

              B.     Publication of Defamation to Third Parties
              Contrary to Defendant’s assertion, Plaintiff’s complaint does indicate who the

 defamatory statements were made to because it described the context as a deposition.

 At least two attorneys and a court reporter are present for depositions. Moreover, as

 set forth in Plaintiff’s declaration, a deputy sheriff overheard the statement and Judge

 Hatty heard about the statement (Exhibit B: Zysk Declaration at 5). To the extent

 the Court finds greater specificity is required, Plaintiff requests leave to amend to

 specify that Defendant’s defamation was published at a minimum to Kathryn L.

 James, Thomas J. Kizer, Jr., Neil J. Marchand, Donald C. Root, Sheriff Deputy

 Bishop and Judge Hatty.

              C.     Governmental Immunity
              The Governmental Immunity statute, MCLA 691.1407(5), does not shield

 Defendant because she was not “acting within the scope of her judicial … authority”

 when she attended a deposition of a third-party witness (Plaintiff) in her divorce case

 (although she certainly used her status as a judge to alter testimony and intimidate

 witnesses). Defendant’s position as a judge implicated no duty, right or



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 responsibility to violate the Judicial Canon of Ethics or the Michigan Rules of

 Professional Conduct by engaging in rude, obstructive behavior at Plaintiff’s

 deposition.

 VII. Conclusion
              Plaintiff’s complaint adequately states a claim for each of her counts against

 Defendant. Defendant’s motion should be denied.

                                              Respectfully submitted,

                                              /s/ James K. Fett
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 Dated: April 20, 2018                        Attorneys for Plaintiff

                                   Affidavit of Mailing
 I hereby certify that on April 20, 2018, I electronically filed the foregoing paper with
 the Clerk of the Court using the ECF system which will send notification of such filing
 to the following: T. Joseph Seward and Thomas L. Fleury.

                                              /s/ James K. Fett
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